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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 In re:
                                                          Chapter 11
 LIVE PRIMARY, LLC,
                                                          Case No. 20-11612 (MG)
                                 Debtor.



           ORDER FURTHER EXTENDING (I) EXCLUSIVITY PERIOD AND
            (II) TIME WITHIN WHICH TO ASSUME UNEXPIRED LEASE
                     OF NON-RESIDENTIAL REAL PROPERTY

               Upon the motion dated April 5, 2021 (the “Motion”) of Live Primary, LLC, the

above-captioned debtor and debtor in possession (the “Debtor”), for entry of an order (i) further

extending for ninety (90) days, through and including August 5, 2021 (a) the exclusive period

within which it must have the Debtor’s Plan of Reorganization (ECF Doc. # 71), as modified by

any amendment and/or supplement thereto (the “Plan”), accepted, and (b) the time within which

debtor may assume unexpired lease of non-residential real property; and (ii) granting such other

and further relief as the Court deems just and proper, and the Court having jurisdiction to consider

and determine the Motion as a core proceeding pursuant to 28 U.S.C. §§ 157 and 1334; and venue

of this proceeding being proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409; and due

and proper notice of the Motion having been given; and it appearing that no other or further notice

need be given; and any objection to the granting of the relief requested by the Motion having been

resolved or overruled, and upon the record of the hearing held before the Court on the Motion on

May 3, 2021; and the Court having determined that the legal and factual bases set forth in the

Motion establish just and sufficient cause to grant the requested relief, and after due deliberation

and sufficient cause appearing to me therefor, it is hereby
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                 ORDERED, that the Motion be, and hereby is, GRANTED to the extent set forth

herein; and it is further

                 ORDERED, that pursuant to 11 U.S.C. § 1121(d), the Debtor’s exclusive period

to solicit and obtain acceptances with respect to the Plan is hereby extended by ninety (90) days,

through and including August 5, 2021; and it is further

                 ORDERED, that pursuant to section 365(d)(4) of the Bankruptcy Code, the time

period within which the Debtor may assume or reject the Lease be, and it hereby is, extended

through and including August 5, 2021; and it is further

                 ORDERED, that the “No Objection” of the Landlord, as defined in the Motion, as

indicated by the signature of its counsel below, constitutes “prior written consent of the lessor,” as

required by 11 U.S.C. § 365(d)(4)(B)(ii), and that no further consent of the Landlord shall be

required for the purpose of granting the Extension; and it is further

                 ORDERED, that the extensions granted hereby are without prejudice to such other

and further requests for extensions that the Debtor may make; and it is further

                 ORDERED, that the Debtor is authorized to take all actions necessary to effectuate

the relief granted in this Order; and it is further

                 ORDERED, that notice of the Motion is and was good, adequate, and timely and no other

or further notice of the Motion is necessary or required; and it is further

                 ORDERED, that notwithstanding any applicability of Rule 6004 of the Federal Rules of

Bankruptcy Procedure, the terms and conditions of this Order, shall be immediately enforceable; and it is

further




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                ORDERED, that the Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and/or enforcement of this Order.


IT IS SO ORDERED.
Dated: May 4, 2021
       New York, New York
                                                  _____/s/ Martin Glenn_______
                                                         MARTIN GLENN
                                                  United States Bankruptcy Judge

 NO OBJECTION:
 Itkowitz PLLC
 Attorneys for Broadway 26 Waterview, LLC

 By: _ /s/ Jay B. Itkowitz
     Jay B. Itkowitz, Esq.,
                     a Member of the Firm

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